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                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,
                                                   Case No. 4:11-cr-0298-BLW
             Plaintiff,
                                                   ORDER ADOPTING REPORT
      v.                                           AND RECOMMENDATION

JOSE RIOS-JIMENEZ,

             Defendant.


      Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 201). On December 18, 2012, Defendant Jose Rios-Jimenez

appeared before the Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. The Magistrate Judge conducted the plea hearing and concluded there is a

factual basis for Defendant’s plea of guilty to the charges contained in Counts Ten and

Twelve of the Superseding Indictment (Dkt. 36), and that it was entered voluntarily and

with full knowledge of the consequences. No objections to the Report and

Recommendation have been filed.

      The Court now has reviewed the record, and finds that the requirements of Rule 11

have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of

Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the


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result of force or threats or promises apart from the plea agreement; and that a factual

basis for the plea exists. See id. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 201) shall be, and the same is hereby, ADOPTED as the decision

of the District Court and incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Counts Ten and Twelve of the Superseding Indictment (Dkt. 36), shall be, and

the same is hereby, ACCEPTED by the Court as a knowing and voluntary plea supported

by an independent basis in fact containing each of the essential elements of the offense.

       IT IS FURTHER ORDERED that United States’ motion to dismiss Counts One

and Six of the Superseding Indictment (Dkt. 36) as to Defendant is GRANTED.

       IT IS FURTHER ORDERED that Defendant Jose Rios-Jimenez is found to be

GUILTY as to the applicable crimes charged in the Superseding Indictment. (Dkt. 36).

                                   DATED: January 24, 2013



                                   B. LYNN WINMILL
                                   Chief U.S. District Court Judge




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